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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                       Case No. 1:20-cv-03590-JEB
               v.

  META PLATFORMS, INC.,

                    Defendant.




         META PLATFORMS, INC.’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Civil Rule 7(h) of

the Local Rules of the United States District Court for the District of Columbia, Defendant Meta

Platforms, Inc. respectfully moves the Court for summary judgment against the Plaintiff Federal

Trade Commission in Federal Trade Commission v. Meta Platforms, Inc., No. 1:20-cv-03590-

JEB. Meta’s Motion is supported by the concurrently filed Memorandum of Points and

Authorities in Support of Meta’s Motion for Summary Judgment, the Statement of Material Facts

as to which there is no genuine issue in support of Meta’s Motion for Summary Judgment, and

the accompanying exhibits. Meta respectfully requests oral argument on its Motion pursuant to

Local Civil Rule 7(f).
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Dated: April 5, 2024               Respectfully submitted,


                                   /s/ Mark C. Hansen
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2024, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a Notice of

Electronic Filing to all counsel of record.



                                              /s/ Mark C. Hansen
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